






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00603-CV






Amanda Salazar, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 340TH JUDICIAL DISTRICT

NO. C-09-0124-CPS, HONORABLE JAY K. WEATHERBY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

PER CURIAM

		Appellant Amanda Salazar's brief was due in this Court on October 27, 2010.  On
November 16, 2010, this Court sent notice to Salazar's appointed counsel, Rosemary Rose, that her
brief was overdue and that if we did not receive from counsel a satisfactory response to this notice
on or before November 29, 2010, a hearing before the district court would be ordered.  As of this
date, counsel has not filed her brief or responded to this Court's notice.

		The appeal is abated.  The district court shall conduct a hearing to determine whether
Salazar desires to prosecute this appeal and whether appointed counsel has abandoned the appeal.
See Tex. R. App. P. 38.8(b)(2); see also In re T.V., 8 S.W.3d 448, 449-50 (Tex. App.--Waco 1999,
no pet.) (applying Rule 38.8(b) to suit involving termination of parental rights).  The court shall
make appropriate findings and recommendations.  A record from this hearing, including copies of
all findings and orders and a transcription of the court reporter's notes, shall be forwarded to the
clerk of this Court for filing as a supplemental record no later than February 7, 2011.  See Tex. R.
App. P. 38.8(b)(3).



Before Justices Puryear, Pemberton and Rose

Abated

Filed:   January 7, 2011


